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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     :
                                              :
                                              :
               v.                             :      Criminal No. 21-CR-609
                       :
                                              :
JEREMY BROWN                                  :
                                              :
                       Defendant.             :


                                 NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Assistant United States Attorney Troy A. Edwards,

Jr., is entering his appearance in the above-captioned matter as counsel for the United States.




                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052


                                                /s/ Troy Edwards, Jr.
                                              ___________________________
                                              Troy A. Edwards, Jr.
                                              Assistant United States Attorney
                                              N.Y. Bar No. 5453741
                                              601 D Street, NW,
                                              Washington, D.C. 20530
                                              (202) 252-7081
                                              troy.edwards@usdoj.gov
